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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
  v.                                             §       NO. 4:11-CR-00248-ALM-AGD
                                                 §
  MICHAEL WAYNE PEREZ, JR (27)                   §

                             REPORT AND RECOMMENDATION
                          OF UNITED STATES MAGISTRATE JUDGE
       This report and recommendation addresses a petition for revocation of the defendant’s

 supervised release. Dkt. 1641 (sealed).

                                     PROCEDURAL HISTORY

       On April 8, 2014, United States District Judge Richard A. Schell sentenced defendant Michael
 Wayne Perez, Jr., to 180 months imprisonment followed by ﬁve years of supervised release.

 Dkt. 1081 at 1–3 (sealed). United States District Judge Amos L. Mazzant later reduced Perez’s

 sentence to 144 months imprisonment. Dkt. 1568. Perez’s most recent term of supervised release

 commenced in April 2024. Dkt. 1641 at 1 (sealed).

       In May 2025, a probation oﬃcer petitioned the court for a warrant, alleging that Perez had

 violated two conditions of his supervised release. Dkt. 1641 (sealed). Speciﬁcally, the petition

 alleged that Perez had violated conditions that required him to refrain from any unlawful use of a

 controlled substance and to participate in a program of testing and treatment for substance abuse.

 Dkt. 1641 at 1–2 (sealed).

       In support of those allegations, the petition asserted that, on three occasions in 2024, Perez

 submitted urine specimens that tested positive for controlled substances, and on two other

 occasions in 2025 he admitted to using controlled substances. Dkt. 1641 at 1–2 (sealed). The

 petition also asserted that on one occasion Perez failed to submit a urine specimen as instructed

 and that he was terminated from a substance-abuse treatment program after leaving the facility to

 use controlled substances. Dkt. 1641 at 2 (sealed).
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    A ﬁnal revocation hearing was held before me on May 14, 2025. Perez pleaded true to the two

 allegations. Minute Entry for May 14, 2025. He also consented to revocation of his supervised

 release and waived his right to object to my proposed ﬁndings and recommendations. Id.;

 Dkt. 1651. The government requested a sentence of 13 months imprisonment with no supervised

 release to follow, which is within the federal sentencing policy statements; the defendant agreed.

 After hearing argument from counsel, the court announced what its recommendation would be.

                                     RECOMMENDATION

    In accordance with the Sentencing Reform Act of 1984, and having considered both parties’

 arguments, the court recommends that: (1) Perez’s supervised release be revoked based on

 allegations one and two in the petition, Dkt. 1641; (2) Perez be committed to the custody of the

 Bureau
    .   of Prisons to be imprisoned for a term of 13 months, with no supervised release to follow;

 and (3) Perez be placed at FCI Seagoville in Seagoville, Texas, if appropriate.

    So ORDERED and SIGNED this 15th day of May, 2025.



                                       ________________________________________
                                       Bill Davis
                                       United States Magistrate Judge




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